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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig MDL No. 2179
“Deepwater Horizon” in the Gulf
of Mexico, on April 20, 2010

SECTION: J
This Document Relates to:
JUDGE BARBIER
No. 12-970
MAGISTRATE SHUSHAN

MEMORANDUM IN SUPPORT OF CLASS COUNSEL’S
MOTION TO STRIKE UNSUBSTANTIATED EXHIBITS AND TO CONTEST
MISSTATEMENTS CONCERNING SPECIFIC CLAIMS

Now INTO Court, through appointed Class Counsel, come Claimants in the Court-
Supervised Settlement Program and the Economic & Property Damages Settlement Class who
respectfully move to strike the Declaration of Allison Rumsey and Appendices A and B
(collectively referred to as “BP Counsel Declaration”) attached thereto [Rec. Doc. 11819-2].

L BP Counsel’s Declaration and the Attached Appendices Materially Misstate Claims
Files and Should be Stricken as Misleading the Court with Unreliable Hearsay.

BP Counsel’s self-serving Declaration glaringly misstates material facts regarding claim files
and violates all evidentiary standards for reliability.' Of the 64 claims identified by BP Counsel

in Appendix A, more than half contain no information beyond the financial test that BP agreed to

' This is not the first time that BP has materially misstated the record to the Court with one-sided,
unreliable hearsay. In its Emergency Motion for a Preliminary Injunction Against the Claims
Administrator for a Preliminary Injunction to Enjoin Payment Awards for Business Economic
Loss Claims Based on “Fictitious” Loss filed in March 2013 [Rec. Doc. 8910-3], BP submitted
another Declaration from a BP consultant that purported to detail a number of payments for
“fictitious losses.” Once Class Counsel informed the Court that a number of the claims cited by
BP had been previously paid directly by BP and/or the GCCF, BP quickly dropped those
“samples.” Class Counsel Opposition to BP Emergency Motion for a Preliminary Injunction, at
18-20 [Rec. Doc. 9082-2].
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in Exhibit 4B to further establish that the claim was causally connected to the spill. 17 of the
Claims contain statements from Claimants’ directly opposite of BP Counsel’s Declaration and
Appendices. These material omissions are tantamount to BP Counsel misleading the Court.

Appendix B is even more troubling. Appendix B is a list of almost 1,200 claim “summaries.”
The list purports to establish how certain claims from certain industries from a certain distance
from the spill could not have been impacted by the spill. However, there is no description of the
type of business or financials, other than grouping them by distance and industry. In fact, BP
Counsel did not even compile the list; the list was compiled by an “economic consultant” who is
not even named in the Declaration.

From an evidentiary standpoint, BP Counsel’s Declaration violates every principle of
reliability. The Declaration contains multiple layers of hearsay, fails to make her statements
based upon “personal knowledge,” and, most disturbing of all, completely failed to attach (or
submit under seal) any supporting documentation to substantiate her extraordinary factual
conclusions.’ These material omissions are designed to mislead the Court with absurd
statements absent any semblance of evidentiary reliability.

A. BP Counsel’s Declaration Materially Misleads the Court.
Appendix A to the Rumsey Declaration consisted of a list of 64 examples allegedly
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demonstrating claims where there was “no causation.” The list apparently was created by

> BP Counsel’s “offer” to provide the claim excerpts that support her position is baffling — as
though the “offer” to provide somehow lends any type of evidentiary verifiability to unabashed
conclusions of BP counsel. Certainly, BP is no stranger to filing exhibits under seal as it has
done dozens of times over the last three and a half years.

>On November 15, 2013, this Court denied BP’s motion and on November 22, 2013 issued an
order detailing the basis of the denial. [Rec. Doc. 11857] Since the Court adopted the arguments
raised by Class Counsel in its Sur-Reply in Opposition to BP’s Motion to Amend Scheduling
Order and Injunction [Rec. Doc. 11848] when denying BP’s motion, Class Counsel’s argument

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Rumsey and a number of unnamed attorneys from Amold & Porter, LLC, as well as unnamed
“experts.”" The area of expertise is not identified. BP Counsel’s unsupported list materially
omits 17 Claimants’ own statements that their losses were a result of the Spill or that contain
other statements of causation.’ 17 times BP Counsel omitted the statements of the Claimant.

In fact, four claimants on Appendix A had already been paid by BP through the GCCF
for claims relating to the Spill. In 2010 and 2011, BP paid these four claimants (Claim Nos.
XXX23, XXX51, XXXK20, XXX62) a combined total of more than $1.5 million for business
losses caused as a result of the BP Oil Spill.®

The majority of claimants on the List of 64 did not respond to BP’s causation arguments.
Their claims files are silent on causation. They simply noted that actual causation was not an
issue per the Settlement Agreement.’ The Below list is comprised of those instances where the
Claimant discusses causation or where the Appeals Panel finds that BP’s causation arguments

are factually wrong.*

What BP Represented To The What BP Failed To Disclose To The
Court: Court:
1. Claim No. XXX08: ... Claimant had ne Claimant further addresses BP’s alternative

injury due to the Spill. Claimant’s decline
in revenue in late 2010 was caused by this

water damage that forced its office to close. .

causation argument by explaining that it actually
had 2 locations and that following the closure of
one office, all patients were routed to the other
office (6.8 miles away). Thus, Claimant
contends it was not completely shut down and

concerning the unreliability of the list of 64 was also adopted. However, since the matter has
been remanded, Class Counsel submits the instant motion to better complete the record.

* Rumsey Declaration, { 3.

* Nor is Appendix A an appropriate Fed. R. Evid.; 1006 summary. See U.S. v. Nguyen, 504 F.3d
561 (5" Cir. 2007) (finding that a testimonial summary of the content of records is not an
appropriate summary under Rule of Evidence 1006 or Fifth Circuit caselaw).

° Jd. at 8.

’ Creevy Declaration, at 9 5, attached as Exhibit “A”.

‘Id. at $4.

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What BP Represented To The
Court:

What BP Failed To Disclose To The
Court:

continued to generate revenue during the late
2010 months. Doc. Id. XXXX148

Appeal Panel: On 6/3/13, found for Claimant
and noted that, “The Claimant’s business was
not totally shut down for unrelated causes. ...”
Doc. ID XXXX5778

Claim No. XXXX20: ...In November
2010, Claimant’s tugboat—its only source of
revenue—was not operating because the
tugboat was undergoing major repairs
unrelated to the Spill. . .. Claimant did not
incur any injury due to the Spill or for any
other reason. ...

On 6/27/13, the Appeal Panel found in favor of
Claimant and noted that “... BP’s argument
concerning vessel repairs finds no support in the
record or the Settlement Agreement.” Doc. ID
XXXX1876

Claim No. XXX65: Claimant is a Zone D
nursing home facility in Central Louisiana. .
.. Almost a full year before the Spill,
Claimant shut down its facility and
transferred its license to operate the
business. Yet, the Settlement Program
engaged in the fiction that the absence of
revenue in 2010, after Claimant had closed
and transferred its license, was an injury due
to the Spill.

Claimant’s Final Proposal admits that at the
facility in question, it transferred its operating
license on May 31, 2009. Nonetheless, Claimant
argues that although it shut down its “larger line
of service”, if continued to operate another line
of service at that same location, i.e., it still
earned revenues at said location. (with sufficient
revenue in 2011 to pass the VU shaped Pattern
Revenue Test) Doc. ID XXXX3226

Claim No. XXX51: Claimant is a hotel in
Mississippi. . . . Claimant experienced a fire
in mid-September 2010 that caused the hotel
to remain closed from October 2010 until the
Spring of 2011. Claimant recorded no
revenue during those months. Claimant’s
Compensation Period included October
2010. The Settlement Program created the
fiction that the absence of revenue in
October 2010 was a loss resulting from the
Spill, when in fact it was due to the fact that

Claimant countered that it received insurance
proceeds that “replaced” the otherwise lost
proceeds during the periods the hotel was closed.
Doc. ID XXXX763

On 6/27/13, the Appeal Panel found in favor of
Claimant, noting that Claimant fully accounted
for its business interruption insurance income in
its financial statements and that “...Claimant
voluntarily recalculated its monthly profit and
loss statements in its final proposal to apply the

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What BP Represented To The What BP Failed To Disclose To The
Court: Court:
the fire caused the business to shut down. insurance proceeds when they were earned

rather than when they were received which
reduced the claim by $52,877.57 in BP’s favor.
Nonetheless, BP still contends that Claimant is
entitled to an award of $0...” Doc. ID
XXXX5745

Claim No. XXX08:...Claimant’s decrease | Claimant contends that “BP fails to consider that
of profit in 2010 was directly attributable to | all health care businesses’ financial

a reduction, which took effect prior to the performance tracks the general economy and
Spill, in rates paid by third-party payors (e.g. | harm to the economy results in harm to all
government programs and private insurers). | health care business. Rates are lowered either
because of loss of tax revenue to governmental
payors, patients and their families delay
treatment, and private insurers drop rates
because they lose enrolled members.” Doc. ID
XXXX119.

On 6/28/13, a unanimous three member Appeal
Panel found in favor of claimant stating “BP's
argument that the claimant may have had some
decreased reimbursement rates does not provide
justification for not implementing the financial
process set forth in the Settlement Agreement and
confirmed by the District Court.” Doc. ID
XXXX4014

Claim No. XXX00: Claimant is a non-profit | Claimant responded that, “While [Claimant] did
in Florida that provides counseling for at risk | change the structure of its contract to receive
youth and their families. Claimant’s State Funding, this change actually saved
economic performance in 2010 changed wef | [Claimant] more in expenses than it cost in

as a result of an injury due to the Spill—or | revenue. If [Claimant] had not done this change,
indeed any injury at all—but rather due to an | the losses in 2010 would have been even greater

elective change in the matter in which than they were for 2010.” Doc. ID XXXX366
Claimant receives funding. . . .

Claim No. XXXX41: ...Claimant’s Claimant responds that despite BP’s assertion
financial documentation demonstrates that it | that it ceased farming activities in 2009 and

did not engage in farming operations in 2010, Claimant planted wheat in the fall of
either 2009 or 2010... . Claimant could not | 2010. Claimant also earned revenue from the
have experienced an injury due to the rental of his farm equipment in 2009 because the
Spill—r indeed any injury regardless of land he leased was not available to Claimant that

cause—as Claimant opted not to plant crops | year. Doc. ID XXXX7639
in either 2009 or 2010.

Claim No. XXX27: Claimant operates a car | GM announced the elimination of the Pontiac

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What BP Represented To The
Court:

What BP Failed To Disclose To The
Court:

dealership in Louisiana . . .. General Motors
eliminated the Pontiac brand of automobiles,
which Claimant sold, prior to Claimant’s
Compensation Period. Accordingly,
Claimant’s losses related to the elimination
of the Pontiac brand were entirely unrelated
to the Spill... .

brand on April 27, 2009. For the period of June-
Dec 09 the Claimant sold its remaining
inventory of Pontiac vehicles. The claimant
received a wind down letter from GM on June 1,
2009 stating that it would have to close by
October 31, 2010. On May 27, 2010 the Claimant
signed a reinstatement agreement with GM.
From the June 1, 2009 through the date of the
reinstatement the claimant was a Buick/GMC
dealer selling and servicing new and used cars.
The claimant was a Buick/GMC dealer
throughout the entire process without any
change in business model. Doc. XXXX6836

Claim No. XXX60: Claimant is a Zone C
real estate rental company which, prior to
the Spill, earned revenue from leasing two
properties to Saturn car dealerships. ....
Claimant’s only major sources of income,
the Saturn dealership leases, dried up prior
to the Spill because those dealerships went
out of business in 2009. In 2010, the year of
the Spill, Claimant did not earn any revenue
because it had, prior to the Spill, lost its
tenants. Claimant did not incur an injury
due to the Spill.

ee

Claimant’s response: “.. . It is correct that the
tenants stopped paying rent the end of 2009.
However, but for the spill and the devastating
economic effects of the spill, the properties may
well have been leased during 2010. To suggest
that the only way the Claimant could have
suffered a loss is from not being paid anticipated
rents from the same tenant in past years imposes
an unsupportable condition on making a
successful claim that does not exist in the
Agreement, and which defies logic. Claimant
certainly expected to earn profits in 2010, and
may have been successful in doing so but for the
spill.” Doc. ID XXXX972

10.

Claim No. XXX58: Claimant is a Zone B
catering service and restaurant located in
Louisiana. ... Among other services,
Claimant provides catering to emergency
response clean-up personnel, particularly
after hurricanes. Claimant’s revenue spiked
in December 2007 as well as
September/October 2008 due to Hurricanes
Katrina and Gustav. .. .

Claimant counters that it handles mass catering
events for all [REDACTED] Restaurants for all
occasions, and not merely just hurricanes. Such
mass catering includes fundraisers, weddings,
receptions, and festivals. Though Claimant
benefitted from two large catering jobs related to
hurricanes, this does not evidence Claimant’s
“line of business” as BP suggests. Doc. ID
XXXX7056

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What BP Represented To The
Court:

What BP Failed To Disclose To The
Court:

Claim No. XXX48: Claimant, a Zone B
emergency room physician’s group
operating in Louisiana, entered into a
contractual relationship with a hospital
pursuant to which it received certain
subsidies until its patient volume or billings
increased. ... The lower subsidy in 2010
was not the result of an injury due to the
Spill, but, to the contrary, the elimination of
an agreed-to subsidy when Claimant’s
business expanded. ...

Claimant argues that the subsidy in question is
hopelessly intertwined with all other revenue.
“If you see a decrease in this account, you can bet
the farm that there will be a corresponding
increase in revenues elsewhere in the P&Ls.
Which account will go up in that case would take
a much more complicated and lengthy
explanation, but it will happen by necessity.
There is no substantive difference between this
account and the contractual adjustments on
hospital P&Ls. The Subsidy revenue line is for
reporting just one of several different types of
revenue earned under the same contract, and it is
directly and integrally related to those other
revenue accounts.” Doc. ID XXXX4748

12.

Claim No. XXXX25: Claimant is a Zone C
dentist office located in Florida. . . .
Claimant did not incur an injury due to the
Spill. Rather, Claimant’s revenue declined
because of the departure of one of
Claimant’s dentists prior to the Spill.

Claimant points out that: “BP is correct that Dr.
[REDACTED] left the practice during 2009 and
that Claimant removed him from the Annual
Report as a ‘managing member/manager.’
However, the attached Buyout Agreement and
Promissory Note proves that left
effective the 2nd day of February, 2009. Any
income attributed to would not
have been recorded in the applicable 2009 ‘Only
Benchmark Months’ of June through October.
Therefore, the variable profits being compared
from the relevant 2009 ‘Only Benchmark Period’
would be comparable to the 2010 variable profits
in the same months.” Doc. ID XXXX1590

13.

Claim No. XXX40: Claimant is a Zone C
cancer diagnosis and treatment center
located in Alabama. . . . Claimant
experienced a one-time lag in processing its
insurance reimbursements causing spikes in
revenue during the Benchmark Period—an
event that had nothing to do with the Spill
and yet inflated Claimant’s award. . . .

Claimant argues that “after the oil spill and the
ensuing lost jobs and lost insurance benefits the
numbers of patients unable to pay increased
dramatically, although the incidence of cancer
occurring in the general population remained
consistent.” Doc. ID XXXX6111

14.

Claim No. XXX17: Claimant is a Zone C

Claimant addressed the timing of revenues and

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What BP Represented To The
Court:

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Court:

residential building construction company.
Claimant did not incur an injury due to the
Spill. Rather, Claimant’s business was in a
free fall prior to the Spill... .

ongoing expenses of the claimant to show that
claimant remained in operation during the class
period. Doc.ID XXXX5129

Appeal Panel: Panel ruled for Claimant on
7/29/13. “The record supports the Claim
Administrator's award which is affirmed.” Doc ID
XXXX4012

15. | Claim No. XXX33:...Claimant’s loss was | Appeal Panel: “... The claimant addressed the
not a result of the Spill but appears to be a_ | issue raised by BP regarding whether this
result of the fact that Claimant was not company was a valid business entity entitled to
actually in business... . compensation under the settlement agreement. It
provided a copy of a valid business license. It
presented copies of it's corporate tax returns and
P and Ls. It provided a legitimate explanation of
some of the nuances with it’s financial
statements... . Additionally, the financial
calculations were appropriate and consistent.
There is no improper anomaly as asserted by BP.
...” Doc. ID XXXX1355
16. | Claim No. XXX44: Claimant is a television | Claimant argues that the political advertising in
broadcasting studio located in Zone A... . 2010 actually exceeded that in 2009. Political
Claimant did not incur an injury due to the | advertising is only one of over 29 separate
Spill... . The decline in relative revenue in | revenue line items and that political ads occur
2010 was not due to the Spill, but rather the | throughout the benchmark and compensation
absence of revenue-generating elections for | periods. Doc. ID XXXX680
the studio.
17. | Claim No. XXX73: Claimant, a commercial | Claimant argues that, “Claimant specifically

leasing company located in Florida (Zone
A), ... Claimant’s loss was not due to the
Spill. This award was driven by the
inclusion of commercial rental revenues in
the Benchmark Period for a space that
ceased generating revenue in September
2009, either because the lease for the
property was cancelled or it ended and was
not renewed. This space was not leased

denies BP’s assertion and actually did expect
to earn a profit on Space 107 in 2010, but could
not because of the Spill.”

Doc. ID XXXX852

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What BP Represented To The What BP Failed To Disclose To The
Court: Court:
again in 2010.

The above list demonstrates just how misleading and unreliable BP Counsel’s
Declaration has proven. 17 claims contain some type of causation statement by the Claimant or
other financial information that supports causation. In ss instances, the Appeal Panel itself
recognizes Claimants’ explanation of financials in an effort to support damage calculations.

B. Rumsey’s Declaration is not based on personal knowledge.

Rumsey fails to state that the Declaration is based upon her personal knowledge. While
she states that the summaries in the appendices “are true and accurate representations of the data
in the claims files to the best of [her] knowledge,” Rumsey does not have “personal knowledge”
of the files themselves or the data.” Rumsey admits that the Appendices were not prepared by
just her but with other unnamed attorneys at her firm and unnamed “experts” whose “expertise”
is never identified." This makes the Appendices textbook hearsay and inadmissible. U.S. v.
$92,203 in U.S. Currency, 537 F.3d 504, 508 (5 Cir. 2008) (striking an affidavit based on
hearsay); Boken v. Dengel, 340 F.3d 300, 313 (5" Cir. 2003) (striking an affidavit as inadequate
where it was stated on “information and belief” as opposed to “personal knowledge”).

Rumsey does not get a pass because she is an attorney. Attorneys are subject to the same
“personal knowledge” requirement as any other declarant. Wells Fargo Home Mortg., Inc. v.
Lindquist, 592 F.3d 838, 845-46 (8th Cir.2010) (holding that district court properly ignored

attorney's affidavit because he did not assert personal knowledge of the transaction); Brainard v.

* Rumsey Declaration, at { 3.
fd. at 4.

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Am. Skandia Life Assur. Corp., 432 F.3d 655, 667 (6th Cir.2005) (holding attorney's affidavit
that does nothing more than assemble properly authenticated evidence is still not admissible,
because it is not based on personal knowledge); United States v. Peterson, 414 F.3d 825, 827
(7th Cir. 2005) (“The lawyer's affidavit, being hearsay, is no evidence at all.”); Suit v. Ellis, 282
F.2d 145, 147 n.2 (Sth Cir.1960) (“The motion for new trial is of little assistance to the petitioner
except as a pleading to be considered by the Court, because the affidavit was made by the
attorney and not by the petitioner, and because it failed to contain any showing that the attorney
had any personal knowledge of the facts alleged.”); 11 Moore's FEDERAL PRACTICE §
56.94[7][a], at 56-245 (3d ed. 2011) (stating that “an attorney's affidavit or declaration is subject
to the same personal knowledge requirement as any other affidavit or declaration... .”).

Cc. Appendix B Contains No Indicia of Reliability.

Even concerning Appendix B, in which she only lists certain businesses located more
than 100 miles from the Gulf, BP Counsel offers no proof or support or even explanation for its
unabashedly sweeping statement that “there is no apparent reason why these losses, so far from
the Gulf coast and in industries that are unlikely to have been impacted by the Spill, would have
any nexus to the Spill."""

First and foremost, each and every one of these claims demonstrated a loss from the Spill
based on the objective financial tests that BP agreed would demonstrate a loss from the Spill.
See Opposition to BP Motion to Amend, at 2-6. [Rec. Doc. 11826] Moreover, from an
evidentiary standpoint, BP Counsel offers no financial analysis. BP offers no business or

economic reasons as to why any of the redacted businesses in Appendix B could not have had

losses related in any way to the spill. Appendix B is nothing more than a list of four fields for

'' Rumsey Declaration, at 3.

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almost 1,200 claimants: redacted claim ID, industry type, approximate number of miles from the
Gulf, and total award amount. Nothing else.

Equally troubling is that BP Counsel does not even identify the name of the “economic
consultant” who compiled the list. As such, Appendix B is an evidentiary nightmare — a list of
redacted claims compiled by an unidentified BP consultant. BP never provided unredacted
copies of Appendix A or B to the Court or Class Counsel. Rather than honor its evidentiary
burden of submitting evidence to support its motion for an injunction, BP Counsel simply states
that if anyone wants it, they can come ask BP for it.’

WHEREFORE Plaintiffs respectfully pray that this Court strike the BP Counsel

Declaration and the attached Appendices.

This 18” day of December, 2013.

Respectfully submitted,

/s/_ Stephen J. Herman /s/ James Parkerson Roy
Stephen J. Herman, La. Bar No. 23129 James Parkerson Roy, La. Bar No.11511
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"? Rumsey Declaration, at 1 & 2.

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CERTIFICATE OF SERVICE

We HereBY CERTIFY that the above and foregoing Motion, together with the Exhibits,
has been served on All Counsel by electronically uploading the same to Lexis Nexis File &
Serve in accordance with Pretrial Order No. 12, and that the foregoing was electronically filed
with the Clerk of Court of the United States District Court for the Eastern District of Louisiana
by using the CM/ECF System, which will send a notice of electronic filing in accordance with
the procedures established in MDL 2179, on this 18th day of December, 2013.

/s/ Stephen J. Herman and James Perkerson Roy

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